                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                            )
                                                  )                CHAPTER          13
DAINON TARQUINIUS SIDNEY                          )                CASE NO:         313-09063
SSN: XXX-XX-7845                                  )                JUDGE:           LUNDIN
605 Lakemeade Pointe                              )
Old Hickory, TN 37138                             )
                                                  )
         Debtor                                   )

THE DEADLINE FOR FILING A TIMELY RESPONSE IS: June 11, 2014
IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: June 25, 2014 at 8:30 a.m. Courtroom 1, Customs
House, 701 Broadway, Nashville, Tennessee 37203.__________________________________________________________



   DEBTOR’S RESPONSE IN OPPOSITION TO TRUSTEE’S MOTION TO DISMISS FOR
               CAUSE, FOR FAILURE TO DISCLOSE LIABILITIES

         Comes the debtor, through counsel, Salas Law Group, PLLC, and submits this response

in opposition to the Trustee's motion to dismiss for cause for failure to disclose liabilities.

Debtor’s counsel has filed on his behalf an objection to the claim of SunTrust Bank. This claim

is the basis for the Trustee’s motion to dismiss, and debtor submits that resolution of the claim

objection is dispositive as to the motion to dismiss.

         WHEREFORE, PREMISES CONSIDERED, debtor requests that the trustee’s

motion to dismiss be denied.

                                                  Respectfully Submitted,
                                                  /s/ Maria M. Salas
                                                  Maria M. Salas #015646
                                                  Salas Law Group, PLLC
                                                  Attorney for Debtor(s)
                                                  33 Music Square W, Suite 100A
                                                  Nashville, TN 37203
                                                  (615) 244-6246 (telephone)
                                                  (615) 386-3708 (facsimile)
                                                  notice@salaslawgroup.com




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IN RE:                                       )
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605 Lakemeade Pointe                         )
Old Hickory, TN 37138                        )
                                             )
         Debtor                              )



                                  CERTIFICATE OF SERVICE

       I certify that on this 4th day of June, 2014, I served a copy of the foregoing to the Office
of the Chapter 13 Trustee, P.O. Box 340019, Nashville, TN 37203; to the Office of the U.S.
Trustee, Customs House, 701 Broadway, Nashville, TN 37203; and to the debtor(s) at the above
referenced address.

                                             /s/Maria M. Salas
                                             Maria M. Salas




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